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TO:          Howard Milstein/Edward Milstein/Michael Milstein
FROM:        Oneeka Williams
CC.          Amy Gould, Steve Rossi, Tony Bergamo, Steve Dolnick, Lorraine Doyle, Alva Acosta, Andrew Berkman, Elizabeth Mangan, Angela Vigorito, Clive Spagnoli, David Peckerman, Darryl Rankin,
             Vernon Jefferson, Sharon Hill, Cynthia Howard, Jeff Pirkl, Michael Benedetti, Jaime Romano, Sam Gonzalez, Jazmin Hernandez, Niyoka Turnbull, John Serafin, Danaysys Frias
DATE:        April 25, 2014


                                            LEGAL ACTION UPDATE REPORT


                                                  AMOUNT        # OF MONTHS         CURRENT
APT          TENANT                              SUED FOR         SUED FOR          O/S RENT    STATUS




200 RECTOR PLACE -


18H     DA   RACHMANSKY                           $18,845              4             $19,245    THREE DAY OUT FOR SERVICE


35F     DA   GREER                                $10,887              3             $15,097    DISPO SERVED 4/17, AWAITING COURT DATE




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